Vinesign Document
      Case        ID: B523D995-4383-4A36-AA61-CEA6D6257226
           9:20-md-02924-RLR  Document 7264-4 Entered on FLSD Docket 04/09/2024 Page 1 of 3




                                      UNITED ST ATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

           IN RE: ZANT AC (RANITIDINE)                                                        MDL No. 2924
           PRODUCTS LIABILITY                                                                  20-MD-2924
           LITIGATION
                                                      JUDGE ROBIN L. ROSENBERG MAGISTRATE
                                                                   JUDGE BRUCE E. REINHART
           --------------I
           THIS DOCUMENT RELATES TO:

            Rounds v. GlaxoSmithKline LLC, et al.,
            No. 24-cv-80266 (S.D. Fla.)

                                      DECLARATION OF DAVID ROUNDS

                  I, DAVID ROUNDS , do hereby declare and state:

                  1.      I am the Plaintiff in the above-captioned case. I make this declaration based on

           my personal knowledge and I can testify competently to the facts herein.

                  2.      To the best of my recollection, I purchased and consumed over-the-counter

           ranitidine products between 1998 and 2010.

                  3.      I retained Moore Law Group and Kagan Legal Group on October 30, 2020 to

           represent me in my Zantac case.

                  4.      I authorized Moore Law Group to file a Zantac claim on my behalf in Delaware

           state court, which I understand was filed on September 13, 2022 .

                  5.      I do not recall ever signing a contract with any law firm other than Moore Law

           Group and Kagan Legal Group regarding my Zantac claim.

                  6.      I never authorized any law firm to file my Zantac case in federal court or to

           categorize me as a "Certified Federal Participant." Instead, I only authorized Moore Law Group

           to file my Zantac claim in Delaware state court.

                  7.      If anyone filed my Zantac case in federal court or categorized me as a "Certified


                                                              1

The signed document can be validated at https://app.vinesign.com/Verify
Case 9:20-md-02924-RLR Document 7264-4 Entered on FLSD Docket 04/09/2024 Page 2 of 3




    Federal Participant," it was done without my knowledge or consent.

           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on the 9th of April 2024 Hudson, Massachusetts.




                                                   David Rounds




                                                     2
Case 9:20-md-02924-RLR Document 7264-4 Entered on FLSD Docket 04/09/2024 Page 3 of 3




                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 9th day of April, 2024, the foregoing was filed electronically

     through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.



                                                 /s/ R. Brent Wisner
                                                      R. Brent Wisner, Esq.




                                                    3
